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                              UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NORTH DAKOTA

Mark Splonskowski,

                                Plaintiff,                   MOTION TO DISMISS
        vs.

Erika White, in her capacity as State Election                Case No. 1:23-cv-00123
Director of North Dakota,

                                Defendant.


[¶1]   The Defendant, Erika White, in her capacity as State Election Director of North Dakota,

moves this Court under Fed. R. Civ. P. 12(b)(1) and 12(b)(6) for an order dismissing Plaintiff’s

Complaint. This motion is made to assist the Court in securing “the just, speedy, and inexpensive

determination” of this action. Fed. R. Civ. P. 1. This motion is supported by the attached

memorandum and all documents on file with this Court, and is made on the grounds that the Court

lacks subject matter jurisdiction over the entirety of Plaintiff’s Complaint. Further, this motion is

made on the grounds that Plaintiff’s Complaint fails to state a claim upon which relief can be

granted as more fully set forth in the attached memorandum.

[¶2]   The Defendant requests this Court grant her Motion to Dismiss and dismiss the Complaint

against her.

       Dated this 7th day of August, 2023.
                                              State of North Dakota
                                              Drew H. Wrigley
                                              Attorney General


                                              By:       /s/ Jane G. Sportiello
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                                                        /s/ Courtney R. Titus
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